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NO.
12-11-00060-CR

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

IN THE COURT OF
APPEALS 

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; TWELFTH
COURT OF APPEALS DISTRICT

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; TYLER, TEXAS

MIRANDA
N. PHILLIPS,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPEAL FROM THE 217TH

APPELLANT

&nbsp;

V.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; JUDICIAL
DISTRICT COURT

&nbsp;

THE
STATE OF TEXAS,

APPELLEE&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ANGELINA
COUNTY, TEXAS

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

MEMORANDUM OPINION

PER CURIAM

Miranda
N. Phillips appeals her convictions for two counts of possession of a
controlled substance.&nbsp; Appellant’s
counsel has filed a brief asserting compliance with Anders v. California,
386 U.S. 738, 87 S. Ct. 1396, 18 L. Ed. 2d 493 (1967) and Gainous v.
State, 436 S.W.2d 137 (Tex. Crim. App. 1969).&nbsp; We dismiss the appeal.

&nbsp; 

Background

In
February 2009, an Angelina County grand jury returned an indictment against
Appellant alleging that she committed the offense of possession of a controlled
substance on two separate occasions.&nbsp; The grand jury further alleged that, on
each occasion, she possessed cocaine in an amount of more than one gram but
less than four grams and that she possessed the cocaine with the intent to
deliver it.[1]&nbsp; In April 2009, the State filed
a Brooks[2] notice alleging that Appellant
had a prior felony conviction, which would serve, if proven, to expand the
sentencing range to that of a first degree felony.[3]&nbsp; In April 2009, Appellant
pleaded guilty pursuant to a plea agreement reached with the State.&nbsp; The trial
court accepted this agreement and placed Appellant on deferred adjudication
community supervision pursuant to Article 42.12, Texas Code of Criminal
Procedure, for a period of ten years.&nbsp; 

In August
2009, the State filed a motion alleging that Appellant had violated the terms
of her community supervision and requesting the trial court to consider
proceeding to final adjudication of her guilt.&nbsp; The State alleged that
Appellant had violated the terms of her community supervision by committing new
offenses and by failing to report and failing to pay fees.&nbsp; In December 2010,
Appellant pleaded true to the allegations that she violated the terms of her
community supervision.&nbsp; The trial court found her guilty and assessed a
sentence of imprisonment for twelve years on each count.&nbsp; The court did not
order a fine and, pursuant to statute, ordered the sentences to be served
concurrently.&nbsp; This appeal followed.&nbsp; 

&nbsp;

Analysis Pursuant to Anders v. California

Appellant=s counsel has filed a brief in compliance with Anders
and Gainous.&nbsp; Counsel states that he has diligently reviewed the
appellate record and that he is well acquainted with the facts of this case.&nbsp;
In compliance with Anders, Gainous, and High
v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978), counsel’s brief
presents a thorough chronological summary of the procedural history of the case
and further states that counsel is unable to present any arguable issues for
appeal.[4]&nbsp; See Anders, 386 U.S. at 745, 87 S. Ct. at
1400; see also Penson v. Ohio, 488 U.S. 75, 80, 109 S. Ct. 346,
350, 102 L. Ed. 2d 300 (1988).&nbsp; 

We
have considered counsel’s brief and have conducted our own independent review
of the record.&nbsp; We found no reversible error.&nbsp; See Bledsoe v. State,
178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).

&nbsp;

Conclusion

As
required, Appellant’s counsel has moved for leave to withdraw.&nbsp; See In re
Schulman, 252 S.W.3d 403, 407 (Tex. Crim. App. 2008) (orig.
proceeding); Stafford v. State, 813 S.W.2d 503, 511 (Tex. Crim.
App. 1991).&nbsp; We are in agreement with Appellant’s counsel that the appeal is
wholly frivolous.&nbsp; Accordingly, his motion for leave to withdraw is hereby granted,
and we dismiss this appeal. &nbsp;See In re Schulman,
252 S.W.3d at 408-09 (“After the completion of these four steps, the court of
appeals will either agree that the appeal is wholly frivolous, grant the
attorney=s motion to withdraw, and dismiss
the appeal, or it will determine that there may be plausible grounds for
appeal.”).

Counsel
has a duty to, within five days of the date of this opinion, send a copy of the
opinion and judgment to Appellant and advise her of her right to file a
petition for discretionary review. See Tex.
R. App. P. 48.4; In re Schulman, 252 S.W.3d at 411 n.35.&nbsp;
Should Appellant wish to seek further review of this case by the Texas Court of
Criminal Appeals, she must either retain an attorney to file a petition for
discretionary review or she must file a pro se petition for discretionary
review. See In re Schulman, 252 S.W.3d at 408 n.22.&nbsp; Any petition
for discretionary review must be filed within thirty days from the date of
either this opinion or the last timely motion for rehearing that was overruled
by this court.&nbsp; See Tex. R. App.
P. 68.2.&nbsp; Any petition for discretionary review must be filed with this
court, after which it will be forwarded to the Texas Court of Criminal Appeals
along with the rest of the filings in this case. &nbsp;See Tex. R. App. P. 68.3.[5]&nbsp; Any petition for discretionary
review should comply with the requirements of Rule 68.4 of the Texas Rules of
Appellate Procedure.&nbsp; See Tex. R.
App. P. 68.4; In re Schulman, 252 S.W.3d at 408 n.22.

Opinion
delivered August 24, 2011.

Panel
consisted of Worthen, C.J., Griffith, J., and Hoyle, J.

&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

(DO NOT PUBLISH)









[1] See
Tex. Health &amp; Safety Code Ann.
§ 481.112(c) (West 2010).

&nbsp;





[2]
See Brooks v. State, 957 S.W.3d 30 (Tex. Crim. App. 1997).


&nbsp;





[3] Possession of
cocaine in an amount of more than one gram but less than four grams with the
intent to deliver is a second degree felony.&nbsp; See Tex. Health &amp; Safety Code Ann. §
418.112(c).&nbsp; If it is shown at the trial of a second degree felony that the
defendant has been once before convicted of a felony, the defendant “shall be
punished for a first-degree felony.”&nbsp; Tex.
Penal Code Ann. § 12.42(b) (West 2011).

&nbsp;





[4] Counsel
for Appellant states in his motion to withdraw that he provided Appellant with
a copy of this brief. Appellant was given time to file her own brief in this
cause. The time for filing such a brief has expired, and we have received no
pro se brief. 





[5] By
rule, after September 1, 2011, petitions should be filed directly with the
Texas Court of Criminal Appeals.&nbsp; See Tex.
R. App. P. 68.3(a) (effective September 1, 2011).&nbsp; 







